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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 16-cv-0781-PAB-MLC

   CHRISTOPHER M. ORWIG,

                         Plaintiff,

   v.

   CAPTAIN FELICIA BROOKS, Sterling Corr. Facility Kitchen Manager, Individual Capacity;
   LT. STEVEN BADE, Sterling Corr. Facility Hearings Disciplinary Officer, Individual Capacity;
   OFFICER CLARK, Sterling Corr. Facility Correctional Officer, Individual Capacity;

                         Defendants.

                RECOMMENDATION ON MOTION TO AMEND COMPLAINT

   Magistrate Judge Mark L. Carman

          This matter comes before the court on Plaintiff Christopher M. Orwig’s referred motion

   (doc. 55) to amend his first amended complaint and to forego the redlined version of his

   proposed second amended complaint under D.C.COLO.LCivR 15.1. Defendants Captain Felicia

   Brooks, Lieutenant Steven Bade, and Officer Clark oppose the proposed amendment. Doc. 57.

   As Defendants were able to argue their opposition without the benefit of a redlined version of the

   amendment, the court grants Plaintiff’s request to forego the redline. For the reasons that follow,

   the court recommends1 granting in part and denying in part Plaintiff’s proposed amendment.




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    Because the court’s ruling will result in excluding certain claims from going forward, the court
   assumes its ruling is dispositive and requires a recommendation. See, e.g., Fisher v. Koopman,
   No. 15-cv-0166-WJM-NYW, 2015 WL 6502700, at *2 n.1 (D. Colo. Oct. 28, 2015), aff'd, 693 F.
   App'x 740 (10th Cir. 2017); Estate of Roemer v. Shoaga, No. 14-cv-01655-PAB-NYW, 2017
   WL 1190558, at *7 (D. Colo. Mar. 31, 2017).
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                                       I.      BACKGROUND

          At the time Plaintiff filed his pro se original and amended complaints, he was an inmate

   of Sterling Correctional Facility (“Sterling”). Doc. 1 (complaint filed April 4, 2016); Doc. 6

   (amended complaint filed April 25, 2016). The court has dismissed some of Plaintiff’s claims

   (Order of March 17, 2017, doc. 32), and Plaintiff has voluntarily dismissed some defendants. He

   currently has claims for injunctive relief under the Religious Land Use and Institutionalized

   Persons Act of 2000 (“RLUIPA”) and the First Amendment against Captain Brooks, Lieutenant

   Bade and Officer Clark in their individual capacities.

          Plaintiff alleges that his sincerely-held religious beliefs require him to keep his bible on

   his person. Doc. 6 at 4. At the time of the events at issue, he had been doing so for “well over

   one year.” Id. On December 1, 2015, he reported to the Sterling kitchen for work; Officer Clark

   confiscated his bible; Captain Brooks informed him that a “POR” (posted operational rule)

   policy did not permit him to have his bible in the kitchen and ordered him to return to work

   without it; Plaintiff attempted to do so but experienced distress and refused to continue; he was

   “written up,” fired from his job, and threatened with being put in restricted population for

   refusing to work without his bible. He further alleges that Lieutenant Bade convicted him of

   violating the Colorado Department of Correction's (“CDOC”) Code of Penal Discipline

   (“COPD”), AR #150-01, for “failure to work” and was assessed a loss of 10 days good time.

   Doc. 6 at 8.

          Since filing his first amended complaint, Plaintiff has obtained pro bono counsel. He also

   was transferred from Sterling to the Cheyenne Mountain Reentry Center (“CMRC”) on

   November 7, 2017. On December 31, 2017, Plaintiff filed his motion to amend and attached his

   proposed second amended complaint. Doc. 55, 55-1. He states the purpose of the amendment is



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   in large part “to add Rick Raemisch, the Executive Director of [CDOC] … as a Defendant in his

   official capacity.” Doc. 55 at 3.

           Plaintiff also proposes to add more factual detail regarding his existing claims, and seeks

   to add allegations of conduct at CMRC. Plaintiff would allege that CMRC has disciplined him

   and threatens additional discipline for his declining to participate in a program (the “Positive

   Peer Community Program”) which Plaintiff believes is contrary to his religious beliefs. Doc. 55-

   1 at ¶ 67. Plaintiff also proposes to separate his two legal theories – RLUIPA and the First

   Amendment – into separate causes of action.

                                            II.     ANALYSIS

   A.      Standards for Amending the Complaint

           Rule 15(a) provides that “[t]he court should freely give leave when justice so requires.”

   Fed. R. Civ. P. 15(a)(2).

                   If the underlying facts or circumstances relied upon by a plaintiff
                   may be a proper subject of relief, he ought to be afforded an
                   opportunity to test his claim on the merits. In the absence of any
                   apparent or declared reason—such as undue delay, bad faith or
                   dilatory motive on the part of the movant, repeated failure to cure
                   deficiencies by amendments previously allowed, undue prejudice
                   to the opposing party by virtue of allowance of the amendment,
                   futility of amendment, etc.—the leave sought should, as the rules
                   require, be “freely given.”

   Foman v. Davis, 371 U.S. 178, 182 (1962). “The purpose of the Rule is to provide litigants the

   maximum opportunity for each claim to be decided on its merits rather than on procedural

   niceties.” Minter v. Prime Equip. Co., 451 F.3d 1196, 1204 (10th Cir. 2006) (citations and

   internal quotation marks omitted).

           Defendants argue Plaintiff’s proposed amendment is futile on several grounds: mootness

   due to Plaintiff’s transfer out of Sterling, statute of limitations, failure to administratively exhaust

   the claim regarding events at CMRC, lack of standing to broadly request the injunctive relief

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   Plaintiff seeks, and as to Plaintiff’s request for good time credit, mootness because his

   punishment in the disciplinary proceeding was suspended and has since been withdrawn. In his

   reply, Plaintiff withdrew the claim for good time credit. Doc. 64 at 8, n.4.

          “A proposed amendment is futile if the complaint, as amended, would be subject to

   dismissal.” Full Life Hospice LLC v. Sebelius, 709 F.3d 1012, 1018 (10th Cir. 2013) (internal

   quotation marks omitted). In determining whether a proposed amendment should be denied as

   futile, the court must analyze a proposed amendment as if it were before the court on a motion to

   dismiss pursuant to Federal Rules of Civil Procedure 12(b)(6). Hunt v. Riverside Transp., No.

   Civ.A. 11-2020-DJW, 2012 WL 1893515, at *3 (D. Kan. May 23, 2012). Because the court

   must consider futility by the same light as a Rule 12(b)(6) motion, the court generally cannot

   consider matters outside of the proposed amended complaint. Gee v. Pacheco, 627 F.3d 1178,

   1186 (10th Cir. 2010). The court therefore does not consider the factual materials the parties

   submitted on this motion.

          A claim is subject to dismissal if it does not “contain sufficient factual matter, accepted as

   true, to state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678

   (2009) (internal quotation marks omitted, quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

   (2007)). “[A] well-pleaded complaint may proceed even if it strikes a savvy judge that actual

   proof of [the alleged] facts is improbable, and that a recovery is very remote and unlikely.”

   Sanchez v. Hartley, 810 F.3d 750, 756 (10th Cir. 2016) (quoting Twombly, 550 U.S. at 556). The

   defendant bears the burden of showing futility. Hunt, 2012 WL 1893515, at *3; see also

   Carefusion 213, LLC v. Prof’l Disposables, Inc., Civ. A. No. 09-2616-KHV-DJW, 2010 WL

   4004874, at *5 (D. Kan. Oct. 12, 2010). Claims are also subject to dismissal if the allegations

   show some legal bar to the claim. See, e.g., Gee, 627 F.3d at 1193 (plaintiff’s allegations



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   showed some of his claims were barred as untimely); Sause v. Bauer, 859 F.3d 1270, 1278 (10th

   Cir. 2017), petition for cert. pending (claims barred by qualified immunity were appropriately

   dismissed with prejudice).

   B.     Claims Regarding Conduct at Sterling.

          1.      Mootness

          Article III of the U.S. Constitution restricts the court to considering only active cases or

   controversies. Therefore, if a claim becomes moot during litigation, the court lacks jurisdiction

   to continue hearing the claim. As Plaintiff notes,

          When a prisoner files suit against prison officials who work in the institution in
          which he is incarcerated, seeking declaratory and injunctive relief on the basis of
          alleged wrongful conduct by those officials, and then that prisoner is subsequently
          transferred to another prison or released from the prison system, courts are
          presented with a question of possible mootness.

   Jordan v. Sosa, 654 F.3d 1012, 1027 (10th Cir. 2011). “[A] plaintiff lacks standing to maintain a

   declaratory or injunctive action unless he or she can demonstrate a good chance of being

   likewise injured in the future.” Sause, 859 F.3d at 1277 (internal quotation marks omitted).

   “[P]ast exposure to illegal conduct does not in itself show a present case or controversy

   regarding injunctive relief if unaccompanied by any continuing present adverse effects.” City of

   Los Angeles v. Lyons, 461 U.S. 95, 102 (1983) (internal ellipsis omitted).

          Here, although Plaintiff alleges both Sterling and CMCR have applied the same

   disciplinary rule in ways that violate his freedom of religion, he does not allege the same

   violation of that right. Plaintiff alleges CMCR is substantially burdening his religious expression

   because he will not participate in a peer program; he does not allege that CMCR is prohibiting

   him from carrying his bible. The case law is clear that to avoid mootness, a plaintiff seeking

   injunctive relief must establish a good chance of suffering the same violation of the same right.



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   In Lyons, for instance, the court required the plaintiff to establish a “real and immediate threat

   that he would again be stopped for a traffic violation, or for any other offense, by an officer or

   officers who would illegally choke him into unconsciousness without any provocation or

   resistance on his part.” Lyons, 461 U.S. at 105. In Sause, the plaintiff alleged one of the

   defendant police officers had

          threatened her again … and lectured her that freedom of speech means nothing.
          These allegations are insufficient to demonstrate that Sause faces a good chance
          of being likewise injured in the future. That is, Sause fails to establish she faces a
          real and immediate threat that (1) the defendants will again enter her home while
          investigating a crime; (2) she will again kneel and pray; and (3) the defendants
          will again order her to stand up and stop praying so they can harass her.

   Sause, 859 F.3d at 1277-78 (internal quotation marks and citations omitted). Thus to avoid

   mootness for his claims regarding conduct at Sterling, he would have to allege the very same

   conduct has occurred at his new facility. Plaintiff does not do so. His claims alleging wrongs at

   Sterling are futile, unless he can still obtain some relief for those wrongs.

          In this connection, Plaintiff argues “a claim is not moot ‘when there is some possible

   remedy, even a partial remedy or one not requested by the plaintiff.’” Doc. 64 (reply) at 8

   (quoting Rezaq v. Nalley, 677 F.3d 1001, 1010 (10th Cir. 2012)).

          A case is not moot when there is some possible remedy, even a partial remedy or
          one not requested by the plaintiff. … While a court may not be able to return the
          parties to the status quo ante, ... a court can fashion some form of meaningful
          relief in circumstances such as these. … Even the possibility of a “partial remedy”
          is sufficient to prevent [a] case from being moot. ... Even if that relief—such as
          new retroactive transfer hearings with adequate procedural protections—is
          unlikely to result in transfers to less-restrictive conditions, it is relief nonetheless.

   Id. at 1010 (emphasis original; internal quotation marks omitted, citing Church of Scientology of

   Cal. v. United States, 506 U.S. 9, 12–13 (1992)).

          Plaintiff argues that the court could still grant partial relief on his claims regarding

   Sterling because the court could order expungement of his COPD conviction. In his current


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   pleading, Plaintiff requests inter alia “the conviction of ‘COPD’ violation [be] overturned.”

   Doc. 6 at 11. In the proposed SAC (apparently before Plaintiff realized the disciplinary sentence

   had been suspended and later dropped), he requests an order for CDOC “to provide Plaintiff with

   eight (8) days of good time served,” and “such other and further relief as the Court deems just

   and proper.” Doc. 55-1 at 13.

          Plaintiff has not expressly named CDOC as a defendant in his proposed amendment, but

   argues the claim against Executive Director Raemisch in his official capacity is the same as a

   claim against CDOC. “Official capacity suits ... generally represent only another way of

   pleading an action against an entity of which an officer is an agent.” Kentucky v. Graham, 473

   U.S. 159, 165 (1985) (internal quotation marks omitted). “As long as the government entity

   receives notice and an opportunity to respond, an official-capacity suit is, in all respects other

   than name, to be treated as a suit against the entity.” Graham, 473 U.S. at 166. CDOC received

   notice when the U.S. Marshals served Plaintiff’s complaint. Doc. 11 (waiver of service on

   behalf of seven Sterling officers including the warden, signed by a representative of CDOC’s

   office of legal services). The court will therefore refer to the proposed claims against Mr.

   Raemisch as claims against CDOC.

          If Plaintiff ultimately proves the elements of his claims, expungement of the disciplinary

   conviction from Plaintiff’s record is still possible to award against CDOC. To this extent, the

   claims alleging violations at Sterling are not moot. However, Plaintiff’s claims against

   Defendants Brooks, Bade and Clark are moot; the court cannot order these officers in their

   individual capacities to take official action on behalf of Sterling or CDOC. See, e.g., Lester v.

   Garrett, No. 09-cv-01783-DME-KMT, 2010 WL 3075569, at *1 (D. Colo. Aug. 3, 2010) (citing

   Simmat v. U.S. Bureau of Prisons, 413 F.3d 1225, 1232 (10th Cir. 2005)).



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          2.       Timeliness

          Defendants argue the claims against CDOC regarding conduct at Sterling are barred by a

   two-year statute of limitation. As Plaintiff notes, however, the statute of limitation for RLUIPA

   claims is four years. 28 U.S.C. § 1658(a) (“civil action arising under an Act of Congress enacted

   after the date of the enactment of this section,” which is Dec. 1, 1990); Pettigrew v. Zavaras, 574

   F. App'x 801, 807 (10th Cir. 2014). The RLUIPA claim against CDOC is therefore timely.

          Defendants are correct that Plaintiff’s First Amendment claim brought through 42 U.S.C.

   § 1983 is governed by Colorado’s residual two-year statute of limitation in C.R.S. § 13-80-

   102(1)(i). See, e.g., Blake v. Dickason, 997 F.2d 749, 751 (10th Cir. 1993); Pettigrew, 574 F.

   App’x at 807.

          Pursuant to Federal Rule of Civil Procedure 8(c)(1), the lapse of the statute of
          limitations is an affirmative defense. … A defendant may raise a pre-answer
          statute of limitations defense in a Rule 12(b)(6) motion to dismiss, however, when
          the dates given in the complaint make clear that the right sued upon has been
          extinguished.

   Lawson v. Okmulgee Cty. Criminal Justice Auth., No. 16-7070, 2018 WL 1104553, at *3 (10th

   Cir. Feb. 28, 2018) (internal citations and quotation marks omitted). “[T]he accrual date of a

   § 1983 cause of action is a question of federal law that is not resolved by reference to state law.”

   Wallace v. Kato, 549 U.S. 384, 388 (2007).

          [A] civil rights action accrues when the plaintiff knows or has reason to know of
          the injury which is the basis of the action. … The injury in a § 1983 claim is the
          violation of a constitutional right, and such claims accrue when the plaintiff
          knows or should know that his or her constitutional rights have been violated.

   Lawson, 2018 WL 1104553, at *4 (internal quotation marks and citations omitted, citing Baker v.

   Bd. of Regents, 991 F.2d 628, 632 (10th Cir. 1993); Smith v. City of Enid, 149 F.3d 1151, 1154

   (10th Cir. 1998)). “[W]e first identify the alleged constitutional violations and then locate when

   they occurred.” Id.


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           Plaintiff’s motion was not filed within two years of December 1, 2015, the date he was

   first disciplined for refusing to work without his bible – i.e., being fired from his job, threatened

   with being placed in restricted population, and having Lieutenant Stegar file an incident report

   for investigation of Plaintiff’s refusal to work without his bible. Doc. 55-1 ¶¶ 7, 43-55, 82.

   However, the motion is within two years of Officer Bade’s decision to formally charge (January

   4, 2016) Plaintiff with a COPD violation regarding his refusal to work without his bible, Officer

   Raymond Cole’s hearing of that charge (January 8, 2016) and his conviction of Plaintiff thereon.

   Id. ¶ 57. Plaintiff alleges the COPD conviction as a second violation of his First Amendment

   rights. Id. ¶ 60.

           Defendants argue the entire cause of action regarding conduct at Sterling accrued on the

   date he was first disciplined. They appear to consider the COPD formal charge, hearing and

   conviction as merely “continuing adverse effects” and a “later consequence” of the alleged

   constitutional violation on December 1, 2015. Doc. 57 at 4-5. Defendants cite Industrial

   Constructors Corp. v. U.S. Bureau of Reclamation, 15 F.3d 963, 969 (10th Cir. 1994) for the

   proposition that the plaintiff “need not know the full extent of his injuries before the statute of

   limitations begins to run.”

           Plaintiff replies to the contrary, he alleges “a series of discrete acts” taken by separate

   officers between December 1, 2015 and January 8, 2016 and each act separately violates his

   constitutional rights. Doc. 64 at 2-3. Plaintiff persuasively cites Fogle v. Pierson, 2008 U.S.

   Dist. LEXIS 24543, at *20 (D. Colo. Mar. 26, 2008) (“a series of decisions made by various

   Defendants over a multi-year period which had the result of [plaintiff] being continuously

   confined in administrative segregation” were discrete acts; each decision made more than two

   years before the complaint was filed were barred as untimely unless equitably tolled), aff’d sub



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   nom. Fogle v. Slack, 419 F. App’x 860, 864-65 (10th Cir. April 8, 2011); Gambina v. Fed.

   Bureau of Prisons, 2011 U.S. Dist. LEXIS 111867, at *13 (D. Colo. Sep. 28, 2011)

   (distinguishing between “discrete event in the past” and “a continuously-present condition of

   confinement”); and Georgacarakos v. Wiley, 2008 U.S. Dist. LEXIS 69144, at *35-39 (D. Colo.

   Sep. 12, 2008) (claims regarding even discrete acts that have “continuing consequences” still

   separately accrue). Indeed, even the case on which Defendants rely recognizes separate accrual

   dates for discrete acts. Industrial Constructors, 15 F.3d at 969 (free speech claims accrued in

   May 1984 and other claims accrued in August 1984). Consistent with the above cases, the court

   finds Plaintiff alleges separate violations of his First Amendment rights in the discipline or

   punishments he received between December 1, 2015 and January 8, 2016. Thus, the only

   portion of Plaintiff’s proposed First Amendment claim against CDOC regarding Sterling that

   may be untimely is the discipline received before December 31, 2015.

          An otherwise untimely claim may be brought by amendments that relate back to the

   original pleading under Federal Rule of Civil Procedure 15.

          An amendment to a pleading relates back to the date of the original pleading
          when:
          (A) the law that provides the applicable statute of limitations allows relation back;
          (B) the amendment asserts a claim or defense that arose out of the conduct,
          transaction, or occurrence set out—or attempted to be set out—in the original
          pleading; or
          (C) the amendment changes the party or the naming of the party against whom a
          claim is asserted, if Rule 15(c)(1)(B) is satisfied and if, within the period provided
          by Rule 4(m) for serving the summons and complaint [90 days from date of
          filing], the party to be brought in by amendment:
          (i) received such notice of the action that it will not be prejudiced in defending on
          the merits; and
          (ii) knew or should have known that the action would have been brought against
          it, but for a mistake concerning the proper party's identity.

   Fed. R. Civ. P. 15(c)(1). “[T]he purpose of relation back is ‘to balance the interests of the

   defendant protected by the statute of limitations with the preference expressed in the Federal


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   Rules of Civil Procedure in general, and Rule 15 in particular, for resolving disputes on their

   merits.’” Santistevan v. City of Colo. Springs, No. 11-cv-01649-MEH-BNB, 2012 WL 280370,

   at *3 (D. Colo. Jan. 31, 2012) (quoting Krupski v. Costa Crociere S. p. A., 560 U.S. 538, 550

   (2010)).

           “[W]hen a list of parties has ‘changed,’ Rule 15(c)(1)(C) governs the relation back to the

   original complaint.” Watts v. Smoke Guard, Inc., No. 14-cv-01909-WYD-NYW, 2016 WL

   26503, at *2 (D. Colo. Jan. 4, 2016) (citing Garrett v. Fleming, 362 F.3d 692, 696 (10th Cir.

   2004)). See also Pierce v. Amaranto, 276 F. App’x 788, 792 (10th Cir. 2008). For purposes of

   Rule 15, “[n]otice is satisfied when the parties are so closely related in their business operations

   or activities that the institution of an action against one serves to provide notice of the litigation

   to the other.” Id. (quoting Laratta v. Raemisch, No. 12-cv-02079-MSK, 2014 WL 1237880, at

   *16 (D. Colo. March 26, 2014)).

           Here, the proposed amendment to sue CDOC regarding conduct at Sterling asserts a

   claim that arose out of the conduct Plaintiff set out in the original and amended complaints. As

   noted above, CDOC received notice of this action within the time period provided by Rule 4(m)

   such that it will not be prejudiced. However, Rule 15(c)(1)(C)(ii) requires a “mistake concerning

   the proper party's identity.” Defendants argue that Plaintiff is not seeking to correct “a misnomer

   or misdescription of a Defendant … and there is nothing … to suggest there was a mistake

   concerning [Mr. Raemisch’s] identity.” Doc. 57 at 6. Defendants cite Garrett v. Fleming, 362

   F.3d 692, 696-97 (10th Cir. 2004). Garrett remains good law that a plaintiff cannot avoid the

   statute of limitations when he pleads claims against anonymous defendants and later seeks to

   identify them by name. See, e.g., Estate of Roemer v. Shoaga, No. 14-cv-01655-PAB-NYW,




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   2017 WL 1190558, at *7 (D. Colo. Mar. 31, 2017). But Defendants rely on Garrett’s holding

   that

          the mistake proviso [in Rule 15(c)(1)] was included ... to resolve the problem of a
          misnamed defendant and allow a party to correct a formal defect such as a
          misnomer or misidentification. … [A]n amendment changing the name of a
          defendant … relate[s] back … only if the change is the result of such a formal
          defect.

   Id. (internal quotation marks and citations omitted). This aspect of Garrett has been superseded

   by Krupski.2

          [A] plaintiff might know that the prospective defendant exists but nonetheless
          harbor a misunderstanding about his status or role in the events giving rise to the
          claim at issue, and she may mistakenly choose to sue a different defendant based
          on that misimpression. That kind of deliberate but mistaken choice does not
          foreclose a finding that Rule 15(c)(1)(C)(ii) has been satisfied.

   Krupski, 560 U.S. at 549.

          Krupski shifts the focus from whether a plaintiff actually made a mistake, as the
          issue is phrased in Garrett, 362 F.3d at 696 (“a plaintiff's lack of knowledge of
          the intended defendant's identity is not a ‘mistake’”) to whether the defendant
          should have known that a plaintiff made a mistake. Krupski, 560 U.S. at 550
          (“But repose would be a windfall for a prospective defendant who understood, or
          who should have understood, that he escaped suit during the limitations period
          only because the plaintiff misunderstood a crucial fact about his identity.”).

   Estate of Roemer, 2017 WL 1190558, at *7.

          Thus although Defendants argue Plaintiff always knew the identity of the Executive

   Director of CDOC, the focus is instead whether Plaintiff had a mistaken understanding of the

   roles or status of potential defendants, of which Defendants were or should have been aware.

   Plaintiff was pro se when he filed his complaint and amended complaint, and the court therefore

   construes those pleadings liberally. Plaintiff began serving his sentence at Sterling in 2013 and


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    Plaintiff argues Rule 15(c)(1)(C) is inapplicable because Plaintiff is not adding a new party;
   Plaintiff originally sued other officers of CDOC in their official capacities. However, the official
   capacity claims have been dismissed. Doc. 32 at 4, 13. The proposed claim against Executive
   Director Raemisch in his official capacity seeks to add a new party.
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   had been incarcerated there until his transfer on November 7, 2017. Approximately one month

   after his lawyer entered an appearance and three weeks before the limitations period for the First

   Amendment claim would run regarding the discipline received on December 1, 2015, CDOC

   transferred him to another facility. Doc. 55-1 at ¶¶ 18, 64; Doc. 55 (motion) at 2. Giving

   reasonable inferences to Plaintiff’s allegations, he had a mistaken understanding of the roles or

   status of the Defendants and potential defendants as to the relief he requests going forward. It

   appears he misunderstood that either Defendants would remain his jailors until he was released,

   or that at least one of them would have ongoing authority to modify the disciplinary record he

   received at Sterling.

          Defendants (and CDOC) should have realized that if Plaintiff correctly understood the (a)

   significance a transfer would have on his request to have the disciplinary conviction overturned,

   (i.e., the officer who found the disciplinary violation would apparently not have authority to

   expunge that conviction after Plaintiff was transferred); and (b) that officers in their individual

   capacity cannot take official acts on behalf of CDOC, he would have named CDOC as a

   defendant sooner. See, e.g., Laratta, 2014 WL 1237880, at *16 (finding amendment to add

   Executive Director Raemisch related back because “it is clear that Plaintiff, while proceeding pro

   se, misunderstood that he had to name specific defendants in their official capacities in order to

   obtain declaratory and injunctive relief.”); Santistevan v. City of Colo. Springs, No. 11-cv-

   01649-MEH-BNB, 2012 WL 280370, at *6–7 (D. Colo. Jan. 31, 2012) (plaintiff’s amendment to

   add parties related back because based on factual misunderstandings of their roles or whether the

   officers acted in conformity with county policies). Some post-Krupski cases in the Tenth Circuit

   have not found a mistake within the meaning of Rule 15(c)(1)(C) in arguably similar

   circumstances, but their lack of discussion regarding Krupski’s broadening of the concept makes



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   those cases unpersuasive here. See, e.g., Doe v. Bd. of Cty. Comm'rs of Craig Cty., No. 11-cv-

   0298-CVE-PJC, 2012 WL 2175792, at *4 (N.D. Okla. June 14, 2012); Kole v. Smith, No. 14-cv-

   01435-WJM-KLM, 2015 WL 5026194, at *10 (D. Colo. Aug. 26, 2015).

             Specifically, CDOC knew that it had the discretion and authority to transfer inmates

   between CDOC facilities whenever it “deems it to be in the best interests of said person and the

   public.” See, e.g., Schmaltz v. Zavaras, No. 08-cv-134-MSK-CBS, 2010 WL 466149 (D. Colo.

   Feb. 7, 2010) (discussing C.R.S. § 16-11-308(5)). CDOC also should have known that officers

   in their individual capacity cannot take official acts on its behalf, and that if Plaintiff were

   transferred, it would at best be unclear to Plaintiff (and the court) whether Sterling officers could

   still modify Plaintiff’s disciplinary record. This is not a scenario in which a plaintiff made “a

   deliberate choice to sue one party instead of another while fully understanding the factual and

   legal differences between the two parties.” Krupski, 560 U.S. at 549. See Trujillo v. City & Cty.

   of Denver, 14-cv-02798-RBJ-MEH, 2016 WL 5791208 (D. Colo. Sep. 7, 2016). Plaintiff’s

   proposed amendment to bring the First Amendment claim against CDOC meets the requirements

   of Rule 15(c)(1)(C), relates back to his original complaint, and thus is timely.

             In sum, Plaintiff’s proposed claims regarding conduct at Sterling are neither moot nor

   untimely as to CDOC. But his proposed claims against Defendants Brooks, Bade and Clark in

   their individual capacities became moot when he was transferred to CMRC and are therefore

   futile.

   C.        Claims Regarding Conduct at CMRC.

             Plaintiff also proposes to add his discipline at CMRC as another fact basis for his claims,

   particularly his RLUIPA claim.3 To the extent Plaintiff attempts to bring this part of his claims

   3
     The proposed First Amendment claim incorporates all preceding paragraphs but discusses only
   the discipline at Sterling. The court assumes that the claim includes discipline at CMRC.
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   against the individual Defendants, it is futile. The individual Defendants are officers at Sterling,

   and Plaintiff does not allege that they had any role in the discipline or threatened discipline he

   has received at CMRC. As to CDOC,

          On motion and reasonable notice, the court may, on just terms, permit a party to
          serve a supplemental pleading setting out any transaction, occurrence, or event
          that happened after the date of the pleading to be supplemented. The court may
          permit supplementation even though the original pleading is defective in stating a
          claim or defense.

   Fed. R. Civ. P. 15(d). In his motion, Plaintiff did not characterize his motion as one requesting

   to file a supplemental pleading, but Defendants recognize Plaintiff may be raising “new alleged

   violations occurring at CMRC.” Doc. 57 at 7, n.3.

          Defendants argue that Plaintiff’s allegations of conduct at CMRC “would involve new

   parties and would require Orwig to exhaust his available administrative remedies pursuant to the

   Prison Litigation Reform Act, 42 U.S.C. § 1997e(a), and file a new complaint.” Id. Defendants

   do not cite authority establishing that Plaintiff is required to sue the individual officers at CMRC

   in addition to seeking injunctive relief from CDOC, and the court is unaware of any such

   requirement.4

          Defendants are correct that a prisoner cannot rely on Rule 15 to avoid the administrative

   exhaustion requirement of § 1997e(a). See, e.g., Deschaine v. McLaughlin, No. 08-cv-1279-

   PAB-MJW, 2010 WL 935662, at *4 (D. Colo. Mar. 9, 2010), recon. den’d, 2010 WL 1904534

   (D. Colo. May 10, 2010). However, Plaintiff’s amended claim alleges (albeit conclusorily) that

   he has “exhausted his administrative remedies under the PLRA.” Doc. 55-1 ¶ 71. Plaintiff is not

   required to plead detailed facts in support of that allegation because exhaustion under the PLRA

   is an affirmative defense for Defendants to plead and prove. Jones v. Bock, 549 U.S. 199, 211–
   4
     Defendants do not argue that further discovery would be necessary; the briefs indicate
   Defendants deposed Plaintiff regarding his experience and discipline at CMRC. The court would
   look with disfavor on any request to add officers from CMRC as defendants due to the delay.
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   12 (2007). At this phase, the court will treat the allegation of exhaustion as true, but CDOC may

   raise the issue again on a factual record.

          Defendants next argue Plaintiff lacks standing regarding the CMRC portion of his claims.

   Defendants note Plaintiff “requests in the proposed SAC that the COPD/AR 150-01 not be

   applied in a manner that violates Orwig’s First Amendment rights or RLUIPA,” and Defendants

   characterize this as a “vague, general request that his future … rights not be violated in a manner

   unrelated to the injury asserted in his Complaint.” Doc. 57 at 8. Defendants argue this request

   causes Plaintiff to lack standing under Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-62

   (1992). They further argue the Prison Litigation Reform Act only allows for prospective

   injunctive relief that is “narrowly drawn, extends no further than necessary to correct the

   violation of the Federal right, and is the least intrusive means necessary to correct the violation

   of the Federal right.” 18 U.S.C.A § 3626(a)(1)(A). Defendants appear to assume that to have a

   non-vague controversy and meet the PLRA’s limitations, Plaintiff must state in his complaint the

   specific modification he seeks of the CDOC policy.

          Plaintiff responds that he is making “a specific request that would effectively require Mr.

   Raemisch and/or the CDOC to modify the COPD to ensure that its application does not violate

   Mr. Orwig’s rights,” i.e., “to modify the COPD and/or how it is enforced, so as to avoid the

   specific injuries alleged by Plaintiff.” Doc. 64 (reply) at 7, 8 n.3 (footnote omitted). Plaintiff

   cites Abdulhaseeb v. Calbone, 600 F.3d 1301, 1312 (10th Cir. 2010)), in which the Tenth Circuit

   found a prisoner’s RLUIPA claims were not moot as to the defendant director of the Oklahoma

   Department of Corrections, despite his having been transferred to another facility. His claims

   involved an ODOC-wide policy which the ODOC director had authority to modify if the plaintiff

   proved his claims. Id. The court did not analyze the specificity (or lack thereof) in the prisoner’s



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   request for injunctive relief, but the case implies that it is unnecessary to plead the specific policy

   modification that the plaintiff requests. Indeed, Rule 8 just requires “a demand for the relief

   sought.” Fed. R. Civ. P. 8(a)(3). At this phase, the court construes the allegations and their

   reasonable inferences in the light most favorable to Plaintiff. Sanchez, 810 F.3d at 754. The

   court construes Plaintiff’s request for injunctive relief as seeking modification of CDOC’s policy

   in a manner that will not violate Plaintiff’s rights in connection with the facts he alleges. As

   such, Defendants have not shown Plaintiff lacks standing or fails to state a claim under PLRA.

          In short, the proposed claims regarding conduct at CMRC are futile as to Defendants

   Brooks, Bade and Clark but are not futile as to CDOC.

                                         III.    CONCLUSION

          For the foregoing reasons, the court RECOMMENDS granting in part and denying in part

   Plaintiff’s motion to amend as follows. The court recommends denying the motion as to the

   proposed claims against Defendants Brooks, Bade and Clark; these claims are moot and

   therefore futile. The court further recommends denying the motion as to the request for good

   time credit; this part of Plaintiff’s claim is moot, and Plaintiff has withdrawn it. The court

   further recommends granting the motion as to Plaintiff’s RLUIPA and First Amendment Claims

   against Mr. Raemisch in his official capacity as Executive Director of CDOC.

          Plaintiff shall omit the moot claims, shall drop Defendants Brooks, Bade and Clark as

   defendants, and if he intends to bring a First Amendment claim on the alleged conduct at CMRC

   shall clarify the claim to make that plain. Plaintiff shall then file his second amended complaint

   within 7 days of Judge Brimmer overruling objections to this recommendation, or if no

   objections are filed, then within 7 days of the expiration of the deadline to object.




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                                  ADVISEMENT TO THE PARTIES

          Within fourteen days after service of a copy of the Recommendation, any party may

   serve and file written objections to the Magistrate Judge’ s proposed findings and

   recommendations with the Clerk of the United States District Court for the District of Colorado.

   28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b); In re Griego, 64 F.3d 580, 583 (10th Cir. 1995). A

   general objection that does not put the District Court on notice of the basis for the objection will

   not preserve the objection for de novo review. “ [A] party’ s objections to the magistrate judge’ s

   report and recommendation must be both timely and specific to preserve an issue for de novo

   review by the district court or for appellate review.” United States v. One Parcel of Real

   Property Known As 2121 East 30th Street, Tulsa, Okla., 73 F.3d 1057, 1060 (10th Cir. 1996).

   Failure to make timely objections may bar de novo review by the District Judge of the Magistrate

   Judge’ s proposed findings and recommendations and will result in a waiver of the right to

   appeal from a judgment of the district court based on the proposed findings and

   recommendations of the magistrate judge. See Vega v. Suthers, 195 F.3d 573, 579-80 (10th Cir.

   1999) (District Court’ s decision to review a Magistrate Judge’ s recommendation de novo

   despite the lack of an objection does not preclude application of the “firm waiver rule” ); Int’l

   Surplus Lines Ins. Co. v. Wyo. Coal Refining Sys., Inc., 52 F.3d 901, 904 (10th Cir. 1995) (by

   failing to object to certain portions of the Magistrate Judge’ s order, cross-claimant had waived

   its right to appeal those portions of the ruling); Ayala v. United States, 980 F.2d 1342, 1352 (10th

   Cir. 1992) (by their failure to file objections, plaintiffs waived their right to appeal the Magistrate

   Judge’ s ruling). But see, Morales-Fernandez v. INS, 418 F.3d 1116, 1122 (10th Cir. 2005) (firm

   waiver rule does not apply when the interests of justice require review).




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        DATED: April 23, 2018.




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